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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                  ______________________

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                          No. 1:23-cr-1617-WJ

JASON ROPER,

               Defendant.

  MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S APPEAL OF
       MAGISTRATE’S DETENTION ORDER UNDER 18 U.S.C. § 3145

       THIS MATTER comes before the Court on Defendant’s Motion (Doc. 16) appealing the

Magistrate Judge’s Detention Order. The Government opposes Defendant’s release. Following this

appeal, the Court held a detention hearing on January 30, 2024. After conducting a de novo review,

the Court DENIES Defendant’s Motion and AFFIRMS the detention order.

                                       BACKGROUND

       Defendant Jason Roper is charged with three counts of Hobbs Act robbery, in violation of

18 U.S.C. § 1951. Doc. 2 (Indictment). On the same day, November 1, 2023, an arrest warrant

was issued (Doc. 3). Then, on November 13, 2023, United States Magistrate Judge Briones

conducted a detention hearing (Docs. 12 & 20). After the hearing, Judge Briones entered a

detention order (Doc. 13), finding “that no condition or combination of conditions of release will

reasonably assure” the safety of the community or the Defendant’s appearance. At the hearing,

Judge Briones found that Mr. Roper was a “flight risk” and “also a danger to the community.”

Doc. 20 at 8–9. Mr. Roper, through counsel, filed a motion (Doc. 16) appealing the Magistrate

Judge’s Detention Order (Doc. 13).



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         After extensively reviewing all then-available information1 in the case and holding a

hearing2 on the matter, the Court now issues this Memorandum Opinion and Order denying the

appeal. For the reasons below and for the reasons stated in the Court’s oral pronouncement3 at the

conclusion of the January 30, 2024, hearing on Defendant’s appeal of detention order, the Court

finds Defendant is both a flight risk and a danger to the community. Moreover, there is no condition

or combination of conditions that will reasonably assure his appearance or the safety of the

community.

                                                 DISCUSSION

         When the Government moves for pretrial detention, a court must determine if the

Defendant poses a “serious risk” of fleeing or threatening the safety of the community. United

States v. Ailon-Ailon, 875 F.3d 1334, 1336 (10th Cir. 2017). Once a person is ordered detained by

a magistrate judge, that individual may file an “appeal from a release or detention order.” 18 U.S.C.

§ 3145(c). At this stage, a district court acts de novo and must make an independent judgment.

United States v. Cisneros, 328 F.3d 610, 616 n.1 (10th Cir. 2003). Accordingly, this Court, like

the Magistrate Judge, is governed by the 18 U.S.C. § 3142 factors—meaning a Defendant may be

detained pending trial only if the Court finds “that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(e)(1); see also Cisneros, 328 F.3d at 616 (stating that the


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  In ruling on Defendant’s appeal of the detention order, this Court examined the following: the Indictment (Doc. 2),
the Pretrial Services Report (Doc. 11), the Detention Hearing Transcript (Doc. 20), the Detention Order (Doc. 13), the
Pretrial Services’ Memorandum (Doc. 25), Defendant’s Motion (Doc. 16), and the transcript from the 2023 Supervised
Release violation hearing (Doc. 124 at #09-cr-1866).
2
  New evidence may presented and considered at a detention appeal, Cisneros, 328 F.3d at 617, although there is no
requirement that new information be available or presented. United States v. Garcia, 445 F. App’x 105, 108 (10th Cir.
2011) (per curiam) (unpublished). At the appeal hearing, the Court heard no new evidence from Defense but heard
testimony from Agent Romero on behalf of the United States. Additionally, the Court took judicial notice of the May
24, 2023, supervised release violation proceeding (Doc. 124 at #09-cr-1866).
3
  The Court specifically references the findings stated on the record regarding the factors the Court must consider
under 18 U.S.C. § 3142(g).

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government must prove risk of flight by a preponderance of the evidence and dangerousness to

any other person and the community by clear and convincing evidence).

         Defendant argues that the combination of “GPS monitoring” in conjunction with his release

to “La Pasada” will reasonably assure his appearance (Doc. 16 at 3–4). Mr. Roper also argues that

he is not dangerous, but (even if he is) these conditions “address any concerns.” Id. at 5.

         The Government pushed back—arguing that Defendant has a history of absconding and

failing to appear (Doc. 11 at 3). The Court agrees that Mr. Roper is a flight risk. Additionally, the

Government aptly pointed out that the only years in which Mr. Roper was not racking up new

criminal charges were the years he was incarcerated (Doc. 20 at 4). Moreover, the Government

pointed to Defendant’s criminal history to demonstrate he has a history of violent crime (Doc. 20

at 4), including: aggravated assault, aggravated battery, and armed bank robbery4. Doc. 11 at 6–

8. A review of the Pretrial Services Report shows that Mr. Roper endangered the lives of those in

the community while armed with a weapon on two other occasions prior to the charged conduct.

He is clearly a danger. See United States v. Cook, 880 F.2d 1158, 1161 (10th Cir. 1989) (explaining

safety of the community is expansive and is not simply about physical violence).

         After conducting a de novo review and holding a hearing, the Court agrees with Magistrate

Judge Briones’s (Doc. 13) and Pretrial Services’ (Docs. 11 & 25) assessment. Having considered

the factors set forth in Section 3142(g), the Court finds each one weighs against releasing the

Defendant for the reasons stated on the record. See United States v. Mobley, 720 F. App’x 441,

443–44 (10th Cir. 2017) (applying the Section 3142(g) factors) (unpublished). The Court finds by

a preponderance of the evidence that Mr. Roper is a flight risk and by clear and convincing



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  Defendant was convicted and sentenced (Docs. 48 & 53 at #09-cr-1866) to 141 months’ custody with 5 years’
supervised release for armed bank robbery, use of a firearm in relation to a crime of violence, and felon in possession
in violation of 18 U.S.C. §§ 2113(a), (d), 924(c)(1)(A), 922(g)(1), and 924(a)(2).

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evidence that he is a danger to the community. Specifically, Mr. Roper’s history and the magnitude

of the charges pending against him make him a risk of flight—while his history of violent behavior,

weapons use, and similar criminal activity indicate there is no condition or combination of

conditions that would reasonably assure the community is safe.

       IT IS THEREFORE ORDERED that:

       (1) Defendant’s Motion (Doc. 16) appealing the Magistrate Judge’s detention order is

DENIED;

       (2) The Magistrate Judge’s Order of Detention (Doc. 13) is AFFIRMED; and

       (3) Mr. Roper shall remain in the custody of the U.S. Marshal pending trial or further

order of the Court.

       IT IS SO ORDERED.



                                             ______________________________________
                                             CHIEF UNITED STATES DISTRICT JUDGE




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